     Case 2:08-cr-00137-WFN    ECF No. 737    filed 12/15/08    PageID.1609 Page 1 of 1




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 4
                               UNITED STATES DISTRICT COURT
 5                            EASTERN DISTRICT OF WASHINGTON
 6
       UNITED STATES OF AMERICA,                  )
 7                                                )        No. CR-08-137-WFN-23
                        Plaintiff,                )
 8                                                )        ORDER ON PLEA AND GRANTING
       v.                                         )        UNOPPOSED ORAL MOTION TO
 9                                                )        MODIFY CONDITIONS OF RELEASE
       SHAWNA LYNN ANDERSON,                      )
10                                                )
                        Defendant.                )
11                                                )

12          At   Defendant’s     December     15,      2008,     arraignment      on    Second

13    Superseding    Indictment,        the   United        States   was   represented      by

14    Assistant U.S. Attorney Russell Smoot; the Defendant was present

15    with counsel Terry Ryan.            The Defendant entered a plea of not

16    guilty.

17          IT IS ORDERED:

18          1.    The plea of Defendant is received, and the Defendant is

19    bound over for trial before a district judge.

20          2.    Defendant’s unopposed Motion to modify her conditions of

21    release to permit lawful employment and to travel within the United

22    States on December 25, 2008, (Ct. Rec. 735) is GRANTED; provided,

23    however,   Defendant      shall    remain       in    compliance     with   all    other

24    conditions of release.

25          DATED December 15, 2008.

26
27                                 S/ CYNTHIA IMBROGNO
                              UNITED STATES MAGISTRATE JUDGE
28
      ORDER ON PLEA AND GRANTING UNOPPOSED ORAL
      MOTION TO MODIFY CONDITIONS OF RELEASE - 1
